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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 SINA MOGHTADER                                  §
                                                 §
 v.                                              §
                                                 §
 THE GEO GROUP, INC.,                            §
 DOCTOR GORDON, INDIVIDUALLY                     §
 DOCTOR MORGAN, INDIVIDUALLY,                    §          Civil Action No: SA-18-CV-632-XR
 DOCTOR RODRIGUEZ,                               §
 INDIVIDUALLY,                                   §
 MARK MCPHERSON, INDIVIDUALLY,                   §
 GRIEVANCE INSPECTOR, J.I.E.,                    §
 INDIVIDUALLY, DETENTION OFFICE                  §
 BLAKE, INDIVIDUALLY, AND                        §
 DETENTION OFFICER RANDOLPH,                     §
 INDIVIDUALLY                                    §

                DEFENDANT’S ADVISORY TO THE CLERK OF COURT

       Defendant in the above-captioned case elects as follows (please select only one of the
following options):

               I consent to proceed before a United States Magistrate Judge in accordance with
               provisions of Title 28 U.S.C. Section 636. Defendant in the above-captioned case
               waives the right to proceed before a United States District Judge and consents to
               have a United States Magistrate Judge conduct any and all further proceedings in
               this case, including rendering a decision, and to order the entry of final judgment.
               Any appeal shall be taken to the United States Court of Appeals for the Fifth Circuit
               in accordance with Title 28 U.S.C. Section 636(c)(3).


               I do not consent to proceed before a United States Magistrate Judge. Defendant in
               the above-captioned case elects not to have this case decided by a United States
               Magistrate Judge and prefers that this case proceed before the United States District
               Judge.

Dempsey D. Gordon, Jr., DO
Defendant’s Name




By:                                                           09/21/2018
      Signed by Attorney Edward J. Kroger                    Date
